Case 1:07-cr-00155-PLM             ECF No. 108, PageID.800     Filed 10/09/09     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                   Case No. 1:07-cr-155-02
v.
                                                   HONORABLE PAUL L. MALONEY
TIMOTHY POPE

                  Defendant.
_________________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Timothy Pope has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 706 and 711 of the United States

Sentencing Guidelines modified the Drug Quantity Table with regard to cocaine base (crack

cocaine). These modifications were made retroactive effective March 8, 2008. U.S.S.G. §

1B1.10(c).

       However, Defendant Pope is not eligible for a sentence modification for two reasons.

First, he was sentenced as a career offender. Second, Amendment 706 does not lower his

guideline computation. Accordingly,

       IT IS HEREBY ORDERED that Defendant Timothy Pope’s motion for modification of
Case 1:07-cr-00155-PLM        ECF No. 108, PageID.801        Filed 10/09/09    Page 2 of 2




sentence pursuant to 18 U.S.C. § 3582(c)(2) (Dkt. #105) is DENIED.



Date: October 9, 2009                      /s/ Paul L. Maloney
                                          Paul L. Maloney
                                          Chief United States District Judge
